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THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

TAMMY KITZMILLER, et al.,

Plaintiffs, Case No. 04-CV-2688
(Hon. Judge Jones)

V.

DOVER AREA SCHOOL DISTRICT and DEFENDANTS PROPOSED
DOVER AREA SCHOOL DISTRICT FINDINGS OF FACT
BOARD OF DIRECTORS, AND CONCLUSIONS OF
LAW
Defendants.

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The common understanding of Darwin’s theory of evolution is that it refers
to the mechanism of evolution proposed by Darwin, which is natural
selection. v. 19 (Behe); 27:19-24.

Darwin’s theory of evolution is not a fact. v. 2 (Miller); 94:19-24; v. 19
(Behe); 28:12-14; v. 37 (Minnich); 46:13-17.

Darwin’s theory of evolution is not an absolute truth. v. 2 (Miller); 94:25-
95:1-4.

Darwin’s theory of evolution continues to change as new data are gathered
and new ways of thinking arise. v. 2 (Miller):95:16-22; v. 17 (Padian);
101:6-9,

Darwin’s theory of evolution continues to be tested as new evidence is
discovered. v. 2 (Miller); 97:20-25-98: 1-4.

A stew of organic molecules is a long way from a living cell and the leap
from non-life to life is the greatest gap in scientific hypotheses of earth’s
early history. D 214 at 425.

It is entirely appropriate to refer to missing evidence as a gap. v. 2 (Miller);
100: 14-15.

Darwin’s theory of evolution should be regarded as tentative. v. 2 (Miller);

101:24-25-102:1-3.

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Darwin’s theory of evolution is incomplete. v. 2 (Miller); 102:4-14; v. 15
(Alters); 28:9-13.

Our understanding of the data is incomplete with regard to the details of
human evolution and with regard to virtually everything in evolution. v. 17
(Padian); 102:10-25-103:1-3.

Scientists do not know enough about the structures in the cell to describe
how they all work or to describe how evolution could have produced them
by a step-by-step Darwinian process. v. 2 (Miller); 102:15-25-103:1-12.
The origin of life is an unsolved scientific problem. v. 2 (Miller); 105:21-
24; v. 17 (Padian); 100:25-101:1-2.

The origin of life is an area of scientific inquiry in which there is little direct
fossil evidence. v. 17 (Padian); 101:3-S,

The origin of DNA and RNA in the evolution of cells is an unanswered
scientific question. v. 2 (Miller); 107: 4-8.

Scientists are still debating questions such as how new species arise. v. 17
(Padian); 100:18-21.

Scientists still debate the question why species become extinct. v. 17

(Padian); 100:22-24.

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Many scientists think that Darwin’s original formulation of the mechanism
of evolution was either incorrect or incomplete on the basis of much better
current information on how genetics, molecular biology, and adaptation
actually work. v. 2 (Miller); 108:3-10.

Horizontal gene transfer makes it difficult to trace the pathway of common
decent through microorganisms. v. 2 (Miller); 111:13-25.

Scientists disagree about the relative importance of natural selection, sexual
selection, chance, species hybridization and other factors which all
influence evolution. v. 2 (Miller); 112:2-7.

Gaps and problem exist in Darwin’s theory of evolution. v. 19
(Behe);28:15-17; v. 37 (Minnich); 46:18-23.

The theory of evolution, in particular, natural selection, cannot explain
much of the structure and development of life, including the very foundation
of life, the cell. v. 19 (Behe); 28:18-25-33:1-7; v.37 (Minnich); 98:12-22.
The inability of natural selection to account for this causes scientists, such
as intelligent design proponents, to question whether a Darwinian
framework is the proper approach to solving such questions. v. 19 (Behe);

32:20-25-33:1-7; v. 37 (Minnich); 98:12-22.

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There are presently no detailed Darwinian accounts of the evolution of any
biochemical system, only a variety of wishful speculations. v. 19 (Behe);
28:18-25-30:1-6.

Darwin’s theory cannot account for sexual reproduction; it actually
erroneously predicts that most organisms should reproduce asexually. v. 19
(Behe); 38:15-25-44:1-14.

Darwin’s theory cannot account for the origin of life, which poses a large
problem for the theory. v. 19 (Behe); 44: 14-25-45:1-15.

Charles Darwin lived, worked, and wrote during a time when scientists were
unaware of the existence of genes, of macromolecules, DNA, and other
complexities at the macromolecular level. v. 1 (Miller); 73:15-18;

There is enormous controversy within evolutionary theory on the relative
values and weights to give to forces such as natural selection, sexual
selection, genetic recombination, horizontal gene transfer, and so forth. v. 1
(Miller); 99: 18-22.

It is absolutely true that there are many structures in the living cell, many
biochemical pathways for which we do not have a detailed, evolutionary
explanation, which is a point that all scientists will concede. v. 2 (Miller);

8:12-17.

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A useful theory may become the dominant view among the majority of

scientists, but no theory is considered absolute truth. Scientists analyze,
review, and critique the strengths and weaknesses of theories. As new
evidence is uncovered a theory may be revised or replaced by a more useful
explanation. Sometimes scientists resist a new way of looking at nature, but
over time new evidence determines which ideas survive and which are
replaced. Thus science is characterized by continuity and change. This
includes Darwin’s theory of evolution. v. 3 (Miller); 82:20-25-83:1-20; D
214 at 15.

The fossil record is incomplete, and there are increasingly more gaps in the
fossil record the further back we go in time. v. 17 (Padian); 76:16-25-77:1-
6; 101:10-12.

If you are looking for direct ancestors in the fossil record and you insist on
an unbroken stream of intermediate fossils to document a case that is going
to be difficult under any circumstance. v. 16 (Padian); 116: 18-21.
DASD’s Policy Promotes Good Science Education.

DASD’s policy as issue promotes good science education. v. 18 (Behe);

88:1-25; v. 21 (Behe); 22:2-4; v. 37 (Minnich); 145:7-10.

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The purpose of a high school biology class is not to train scientists but to
contribute to the liberal education of students. v. 3 (Miller); 48:15-21; v. 15
(Alters); 20:19-22.

Critical thinking is a legitimate pedagogical goal for a high school science
class and an important component of teaching science. v. 3 (Miller); 48:7-
14; v. 15 (Alters); 18:11-19.

Critical thinking involves taking a scientific proposition, concept, or idea
and being able to look at it from different scientific points of view. v. 15
(Alters); 19:3-8.

Critical thinking involves questioning fundamental theories in science,
including the theory of evolution. v. 15 (Alters); 19:16-25-20:1-8.

Critical thinking involves comparing equivalent scientific ideas and
comparing them with the evidence and comparing sometimes
misconceptions with the evidence. v. 15 (Alters); 20:9-14.

All things in science should be looked at critically. v. 15 (Alters); 20:15-18.
Students come to a science class with misconceptions about Darwin’s
theory of evolution. v. 20 (Behe); 84:9-21, 25-87:1-10.

Some common student misconceptions about Darwin’s theory of evolution

include: (1) that the theory is completely true, that is, students typically do

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not make distinctions between fact and theory, they do not think the theory
will be falsified, or they do not think there is a possibility of it being
falsified: (2) students often confuse various components of the theory,
typically confusing change over time with the mechanism of natural
selection and confusing the evidence for each; and (3) students often think
that utterly unsolved scientific problems, such as the origin of life, have in
fact been solved. v. 20 (Behe); 84:25-86: 1-6.

Intelligent design seeks to address some of these misconceptions by
demonstrating the distinction between data and theory and to provide an
additional framework with which to treat the data. v. 20 (Behe); 86:11-23.
Students will be better prepared and educated if they learn that Darwin’s
theory of evolution is not a fact and that there are gaps and problems within
the theory. v. 20 (Behe); 86:24-25-87:1-10: v. 37 (Minnich); 46:24-25-
47:1-11.

Good science pedagogy involves helping students overcome
misconceptions. v. 14 (Alters); 71:2-15.

It is most definitely a misconception for a student to believe that Darwin’s

theory of evolution is a fact. v. 3 (Miller); 48:22-25-49:1-13.

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It would be a terrible misconception for a student to believe that science has
answered all questions regarding evolution. v. 3 (Miller); 49:11-14; v. 15
(Alters): 25:18-21.

It would be a misconception for a student to believe that science has solved
the origin of life question. v. 15 (Alters); 25:22-25,

It would be a misconception for a student to believe that Darwin’s theory of
evolution was not tentative. v. 15 (Alters); 26:14-17.

To say that a theory is tentative means that as new information comes in,
scientists should accept that new information and, if necessary, modify
existing theories. v. 15 (Alters); 26:6-10.

It would be a misconception about the nature of science for a student to
believe that science has disproven the existence of God. v. 15 (Alters);
43:15-19,

It would be a misconception for a scientist to believe that science has
disproven the existence of God. v. 15 (Alters); 43:15-23.

Students should be able to evaluate the nature of scientific and technical
knowledge. v. 2 (Miller); 62:6-12.

It is good educational policy to critical evaluate the status of existing

theories, including the theory of evolution. v. 2 (Miller) 63:5-18.

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Making students aware of the scientific theory of intelligent design in a
ninth-grade biology class during instruction on Darwin’s theory of
evolution is good for science education. v. 18 (Behe); 13-18: v. 20 (Behe);
86:11-23; v. 21 (Behe); 20:16-25-22:1; v. 37 (Minnich); 47:12-17; v. 37
(Minnich); 144:12-23.

Making students aware of intelligent design as a scientific theory during
class instruction of Darwin’s theory of evolution promotes science
education because in order for a student to properly appreciate the
difference between fact and theory, the student needs at least a couple of
different theoretical perspectives to view facts from. Ifa student is given
one theoretical framework in which to view a theory, then the danger is that
the theory will blend into the facts and students will not be able to
distinguish between the two. Additionally, the ability to view a set of facts
from a different framework allows a student to judge whether some
difficulties for one theory are either greater or lesser. Somebody who is
convinced that a theory is correct will oftentimes view difficulties as minor
annoyances, or maybe ignore them altogether. But somebody who is not
convinced of that theoretical framework might see those difficulties as much

more telling and weighty than the first person. Finally, the strength of

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evidence supporting a theory, or even whether facts brought to bear have
anything to do with a theory, oftentimes depends on a person’s theoretical
perspective. Sometimes a person who has one theoretical perspective will
view data that is newly obtained as support for the theory, whereas
somebody outside of that will think of it as either irrelevant or not
supporting the theory as strongly as the first person. It is useful for students
to view data from different perspectives. v. 21 (Behe); 20:16-25-22:1.
Making students aware of intelligent design as a scientific theory as Dover
has done through their statement promotes critical thinking, it indicates to
students that there are important problems that are being discussed in this
important area of biology and it will serve their education well. v. 37
(Minnich); 144:12-23.

Makings Pandas available for students to review is good for science
education. v. 18 (Behe); 54:18-25-55:1-8; 56:5-16; 88:19-25; v. 21 (Behe);
10:7-25-11:1-3; v. 37 (Minnich); 35:23-25-36:1-12; 47:18-24; v. 37
(Minnich); 144:24-25-145:1-6.

Dr. Miller teaches an introductory biology course at Brown University in

which one of his educational goals is to establish links between biology and

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other disciplines and to briefly explore some of the ways in which science is
related to popular culture. v. 3 (Miller); 49:19-21; 50:18-25-S1:1.

Dr. Miller provides the students of his introductory biology course access to
supplemental materials on evolution, including access to articles he wrote
regarding intelligent design and a PBS film called, “Why is Evolution
Controversial.” v. 3 (Miller); 51:2-25-52:1-4.

Dr. Miller provides access to these supplemental materials because they
allow students to explore supplemental information related to the lecture
topic of evolution. v. 3 (Miller); 52:5-15,

Dr. Miller provides students access to supplemental materials on evolution,
including access to articles critical of intelligent design, because he believes
that these materials promote the goal of giving students an opportunity to
explore implications of the material he covers in his lectures, and furthers
the educational goal of not necessarily defining a set of material to be
mastered, but to open the door for the students and say if you want to walk
through that door, take a look, there it is. v. 3 (Miller); 52:16-25-54:1-13.
Dr. Miller believes that DASD’s selection of his 2004 version of Biology as
the textbook for its ninth-grade biology class was a good choice. v. 3

(Miller); 55:1-9; 56:7-13.
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The 2004 version of Biology provides comprehensive coverage of the theory
of evolution. v. 3 (Miller); 56:14-16.

The 2004 version of Bio/ogy comports with the Pennsylvania state academic
standards. v. 3 (Miller); 56:25-57:1-3.

Dr. Miller believes that his 2004 version of Biology comports with good
science pedagogy. v. 3 (Miller): 57:4-7.

Dr. Miller believes that his 2004 version of Biology presents science in a
way that is proper for a ninth grade biology student. v. 3 (Miller); 57:8-10.
The 2004 version of Biology was the first edition of Dr. Miller’s Biology
text that described the strengths and weaknesses of evolutionary theory
under a specific heading so they could not be missed. v. 3 (Miller); 57:11-
14; 58:4-10.

The 2004 version of Biology states, under the heading “Strengths and
Weaknesses of Evolutionary Theory,” the following accurate statement:
“Like any scientific theory, evolutionary theory continues to change as new
data are gathered and new ways of thinking arise. As we shall see shortly,
rescarchers still debate such important questions as precisely how new
species arise and why species become extinct. There is also uncertainty

about how life began.” v. 3 (Miller) 58:11-25-59:1-6; D 214 at 386.

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Dr. Miller included the section under the heading “Strengths and
Weaknesses of Evolutionary Theory” in the 2004 version of Biology
because the state requirements for Texas specifically required students to
analyze and critique the strengths of scientific theories and hypotheses and
the theory of evolution was the only theory that the Texas board of
education was interested in seeing strengths and weaknesses for. v. 3
(Miller); 60:24-25-62:1-14.

Thus, in Dr. Miller’s opinion, the 2004 version of Biology comports with
good science pedagogy even though it singles out the theory of evolution as
having strengths and weaknesses. v. 3 (Miller); 57:8-10; 60:24-25-62:1-14.
Students should be able to recognize and differentiate between speculation
and actual data that supports a theory, including Darwin’s theory of
evolution. v. 20 (Behe); 48:9-25-49:1.

DASD?’s Statement Promotes Good Science Education.

The Pennsylvania Academic Standards require students to learn about
Darwin’s Theory of Evolution and eventually to take a standardized test of
which evolution is a part.

Paragraph 1 tells students that they are going to be tested on evolution, so if

they want to do well, they should study hard. v. 21 (Behe); 12:11-18.

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Because Darwin's Theory is a theory, it continues to be tested as new

evidence is discovered. The Theory ts not a fact. Gaps in the Theory exist
for which there is no evidence. A theory is defined as a well-tested
explanation that unifies a broad range of observations.

Paragraph 2 is accurate and students should understand what is stated in it.
v. 21 (Behe); 12:19-25-13:1-2: v.37 (Minnich); 139:5-20.

No scientific theory is a fact and DASD’s statement is very clear because it
refers to “Darwin’s theory of evolution,” which is not a fact. v. 3 (Miller);
79:1-12; 80:7-25-81:1-12.

DASD’s statement provides a good definition of the term “theory,” which
properly defines the theory of evolution. v. 3 (Miller); 79:14-25-80:1-6; v.
17 (Padian); 99:22-24-100:1-4.

Students learn through the DASD statement that Darwin’s theory is a well-
tested explanation that unifies a broad range of observations. v. 15 (Alters):
59:6-10.

Intelligent Design is an explanation of the origin of life that differs from
Darwin’s view. The reference book, Of Pandas and People, is available in
the library along with other resources for students who might be interested

in gaining an understanding of what Intelligent Design actually involves.

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This paragraph of DASD’s statement is a fair statement that effectively
communicates the reality of the situation to the students, which is we have
this book and it is available for you, and it describes intelligent design. v. 3
(Miller); 81:15-25-82:1-16; v. 21 (Behe); 13:3-9.

Intelligent design is an explanation of the origin of life that differs from
Darwin’s view. v. 37 (Minnich); 139:21-24.

With respect to any theory, students are encouraged to keep an open mind.
The school leaves the discussion of the Origins of Life to individual
students and their familics. As a Standards-driven district, class instruction
focuses upon preparing students to achieve proficiency on Standards-based
assessment.

Paragraph 4 is reasonable and it is good advice to tell students to keep an
open mind with respect to any theory. v. 21 (Behe); 13:10-21.

Religious claims about this statement are utterly unconnected to the text and
tell more about the preconceptions and misperceptions of those who are
making such claims. v. 21 (Behe) 13:22-25-15:1-14.

Providing the information contained in DASD’s statement to the students

promotes good science education. v. 37 (Minnich); 139:25-140:1-5.

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Of Pandas and People Is a Good Resource for Students.

Pandas is a book about biology. v. | (Miller); 111:25-112:1; D 220.

In the section on the fossil record, Pandas quotes one of the most prominent
Darwinian evolutionists, Stephen Jay Gould, as follows: “The extreme rarity
of transitional forms in the fossil record persists as the trade secret of
paleontology. The evolutionary trees that adorn our textbooks have data
only at the tips and nodes of their branches; the rest is inference, however
reasonable, not the evidence of fossils.” D 220 at 96.

Dr. Behe drafted the section on blood clotting for the 1993 version of
Pandas; he did not contribute to any prior draft of Pandas. v. 18 (Behe):
28:14-23; 53:12-17.

The discussion found in the blood clotting section in Pandas drafted by Dr.
Behe is similar to his discussion of blood clotting found in Darwin's Black
Box, and this section in Pandas is still valid based on current scientific
evidence. v. 18 (Behe); 53:18-25-54:1-14.; D 300-DD, EE.

Pandas addresses real live scientific problems with protein sequencing and
the molecular clock hypothesis and a student reading this section would get

a good appreciation for this subject and the issues presented, which are

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currently discussed in the science literature. v. 20 (Behe); 49:15-25-68:1-
13; D 220 at 38-39; D 300 VV, WW, XX, YY, ZZ, AAA, BBB.

Pandas seeks to describe the fossil data without a theoretical framework. It
does not rule out common descent, it discusses the standard interpretations
of the fossil data, and it expressly states, “Scientists should not accept the
face value interpretation of the fossil record without also exploring the other
possibilities, and even then, only if the evidence continues to support it.” v.
20 (Behe); 81: 12-25-84:1-8; D 220 at 98; D 300-CCC.

Pandas teaches the following about intelligent design: “The ordering of
independent pieces into a coherent whole to accomplish a purpose which 1s
beyond any single component of the system is characteristic of
intelligence.” (D 220 at 144); v. 37 (Minnich); 50:23-25-52:1.

Pandas advances a positive argument for design. D 220 at 144; v. 21
(Behe); 5:10-25; v. 37 (Minnich); 50:23-25-52:1-10; D 301-A.

Pandas advances an example of scientific, inductive reasoning for design.
D 220 at 7; v. 20 (Behe); 68:14-25-72:1-4.

Pandas makes clear that intelligent design is not a religious or philosophical
belief and that it does not require the action of a supernatural creator acting

outside of the laws of nature. D 220 at 7, 126-27.

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Pandas states, “If science is based upon experience, then science tells us the
message encoded in DNA must have originated from an intelligent cause,
What kind of intelligent agent was it? On its own, science cannot answer
this question; it must leave it to religion and philosophy. But that should
not prevent science from acknowledging evidences for an intelligent cause
origin wherever they may exist.” D 220 at 7.

Pandas states, “Today we recognize that appeals to intelligent design may
be considered in science, as illustrated by current NASA search for
extraterrestrial intelligence (SETI). Archaeology has pioneered the
development of methods for distinguishing the effects of natural and
intelligent causes. We should recognize, however, that if we go further, and
conclude that the intelligence responsible for biological origins is outside
the universe (supernatural) or within it, we do so without the help of
science.” D 220 at 126-27.

Pandas makes clear that intelligent design does not refute the proposition
that life has changed over time. D 220 at 154-55.

Pandas makes clear that it is a misrepresentation to claim that it is “anti-

evolution.” D 220 at 154-55.

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Pandas states, “Yale biologist Keith Stewart Thompson points out that
scientists have used the term [evolution] in at least three different ways.
The first meaning he identifies is “change over time.” In this sense, to say
that evolution has taken place is to say that change has occurred and that
things are different now from what they were in the past. The fossil
evidence, for example, reveals different organisms from one geological
period to the next. When the word is used in this sense, it is hard to
disagree that ‘evolution’ is a fact. The authors of this volume certainly have
no dispute with that notion. Pandas clearly teaches that life has a history
and that the kinds of organisms present on earth have changed over time.”
D 220 at 154-55; D 300-N.

Pandas is a good resource for students in a ninth-grade biology course
because it brings a different viewpoint, a different perspective to the same
data that is oftentimes viewed through a Darwinian perspective, and it can
show students that viewing data from different directions can affect how we
judge the problems associated with a particular viewpoint. It allows
students to separate data from theory and to view problems from different

perspectives. It is good for science education. v. 18 (Behe); 54:18-25-55:1-

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8; 56:5-16; 88:19-25: v. 21 (Behe); 10:7-25-11:1-3; v. 37 (Minnich);
144:24-25-145:1-6.
CONCLUSIONS OF LAW

899. The legal issue in this case is whether the curriculum change adopted by
DASD on October 18, 2004 violates the Establishment Clause of the First
Amendment to the Constitution of the United States.”

900. As applied to cases concerning allegations that a curriculum change violates
the Establishment Clause, the controlling law requires this Court to
determine whether the policy at issue has the primary purpose and primary
effect of advancing religion. see Edwards v. Aguillard, 482 US. 578, 582-
83 (1987)(applying the Lemon test); see also Agostini v. Felton, 521 U.S.
203, 237 (1997) (“[I]f a precedent of this Court has direct application in a
case... the Court of Appeals should follow the case which directly
controls, leaving to this Court the prerogative of overruling its own

decisions.”).°

 

“The parties are agreed that Plaintiffs advance only a claim under the First Amendment and do not base
their claim on an alleged entanglement of church and state.

*Defendants acknowledge this Court’s ruling in connection with the Defendants’ motion for summary

judgment that the Lemon test is in the disjunctive and acknowledge the basis for that decision, but phrase the test in
the conjunctive here for the purpose of preserving this argument on appeal.

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The Plaintiffs argue that DASD’s curriculum violates the Establishment
Clause because it has the primary purpose and primary effect of advancing a
religious doctrine, see Edwards v. Aguillard, 482 U.S. 578 (1987), not
because it prohibits the teaching of ET. See Epperson vy. Arkansas, 393 US.
97 (1968).

As this Court considers the evidence presented, it must be mindful that “The

First Amendment does not prohibit practices which by any realistic measure

 

create none of the dangers which it is designed to prevent and which do not
so directly or substantially involve the state in religious exercises or in the
favoring of religion as to have meaningful and practical impact.” School
Dist. of Abington Township v. Schempp, 374 U.S. 203, 308 (1963)
(concurring opinion) (emphasis added). Put simply, this Court must
“distinguish between real threat and mere shadow.” Id.

For the reasons stated below, this Court will enter an order dismissing the

Plaintiffs’ claim with prejudice.

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Certain Plaintiffs Lack Standing and Therefore Their Claims Will Be
Dismissed.

As an initial matter, the Court finds that certain Plaintiffs lack standing to
advance a claim. The focus of the Plaintiffs’ claim is on the ninth grade
biology curriculum. Consequently, any student who has already passed
ninth grade, or is too far removed from the ninth grade to suffer immediate
harm, has not suffered an actual injury and as such cannot have standing to
sue. See Valley Forge Christian College v. Americans United for Separation
of Church and State, 454 U.S. 464, 472 (1982) (“Article III requires that the
party who invokes the courts authority to “show that he personally has
suffered some actual or threatened injury as a result of the putatively illegal
conduct of the defendant’’”’) (internal citation omitted), and City of Los
Angeles v. Lyons, 461 U.S. 95, 101 (1983) (“The plaintiff mus show that he
‘has sustained or is immediately in danger of sustaining some direct injury’
as the result of the challenged official conduct.””’).

Plaintiffs Aralene ‘Barrie’ Callahan, Frederick Callahan, and Julie Smith, do
not have standing because their children have already passed the ninth
grade, and will, therefore, not suffer any constitutional harm, as they will

never be exposed to the challenged conduct. See Donovan v. Punxatawney

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Area Sch. Bd., 336 F.3d 211, 216 (If circumstances develop in a lawsuit that
“eliminate a plaintiffs personal stake in the outcome of a suit or prevent a
court from being able to grant the requested relief, the case must be
dismissed as moot...When a student challenges the constitutionality of a
school policy, graduation typically moots her claim for injunctive or
declaratory relief.” v.3 (Aralene “Barrie” Callahan); 124: 13-25-125:1; v. 8
(Frederick Callahan); 116: 16-25-117: 1-10; v.6 (Julie Smith): 41:11-25-
42:1-17

Plaintiffs Beth Eveland and Cynthia Sneath do not have standing because
their claims are not ripe. Their children are currently of pre-school age and
in the first grade, and are eight years away from the curriculum presented in
ninth-grade biology. Their claims are therefore remote and speculative and
not ripe for adjudication. See Whitmore v. Arkansas, 495 U.S. 149, 158
(1990) (“Allegations of possible future injury do not satisfy the
requirements of Art. III. A threatened injury must be ‘certainly impending’
to constitute injury in fact.” (Internal citations omitted), Texas v. United
States, 523 U.S. 296, 300 (1995) (“A claim is not ripe for adjudication if it

rests upon contingent future events that may not occur as anticipated, or

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indeed may not occur at all.” v. 6 (Beth Eveland): 106:23-25-107:1-5: v. 15
(Cynthia Sneath) 107:24-25-108:1-3.

The Plaintiffs Have Failed to Prove That the Primary Purpose of
DASD’s Curriculum Change Was to Advance Religion.

The Plaintiffs argue that DASD’s curriculum violates the Establishment
Clause because it has the primary purpose and primary effect of advancing a
religious doctrine, see Edwards v. Aguillard, 482 U.S. 578 (1987), not
because it prohibits the teaching of ET. See Epperson v. Arkansas, 393 US.
97 (1968). The Court finds that the Plaintiffs have failed to prove that the
primary purpose of the curriculum change adopted by DASD on October 18,
2004, was to advance religion.

The actions and votes of the board members responsible for the approval of
biology texts and the curriculum change belie the Plaintiffs’ claim.’

The evidence does not support any claim that Sheila Harkins had a religious
purpose.

a. Harkins came the board with no religious agenda. FF 1-12, 27-27,

164, 215, 283, 287,

 

“Defendants maintain that evidence regarding the individual motives or statements of board members have

no proper place in these proceedings but acknowledge this Court’s ruling on their motion in /imine to exclude this
evidence.

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b. Harkins has no objection to evolutionary theory (“ET”) based upon
her religious beliefs. FF 443, 575.

c. She was for “making students aware” of other theories, including but
not limited to Intelligent Design Theory (“IDT”), because she
believed this would encourage critical thinking. FF 359, 368-79, 575.

d. She was against “teaching” IDT because she deferred to the science
teachers, who were against it. FF 426, 445.

e. She thought the purchase of the biology text could be put off for
another year based upon the copy right and condition of the book,
information that teachers were not actually using the text in
connection with classroom instruction in ET. FF 307.

f. She did not share any purpose with Buckingham when she voted to
delay purchase of the text recommended by the faculty. FF 306, 307.

Jane Cleaver’s views are similar and the evidence does not show that she

acted with a religious purpose.

a. She did not come to the board with a religious agenda. FF 28, 25, 27,
232,

b. She was for the curriculum change because she believes ET is a

scientific theory (not a fact), and it was a good idea to make students

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